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                                                                                              1                         DECLARATION OF RAYMOND SHE WAH CHAN

                                                                                              2          I, Raymond She Wah Chan, hereby declare under penalty of perjury the following:

                                                                                              3          1.      I am the Defendant in United States v. Chan, 20 CR 326-JFW.

                                                                                              4          2.      In connection with a federal criminal investigation which culminated in my

                                                                                              5 indictment and trial, I hired Harland W. Braun on or about November 9, 2018 to serve as my
                                                                                              6 criminal defense attorney and trial counsel.
                                                                                              7          3.      I hired Mr. Braun as my trial counsel because I knew he had tried hundreds of jury

                                                                                              8 trials over the course of more than five decades including some of the more significant cases in
                                                                                              9 Los Angeles such as his client’s acquittal in the federal Rodney King trial. He also had extensive
                                                                                             10 experience in cases with media interest, which my case had given the charges against a Los
                                                                                             11 Angeles City Councilman and which posed additional reputational and other challenges for me.
                                                                                             12 Equally important, Harland expressed unwavering belief in my innocence and was fearless about
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                                                                                             13 taking my case to trial if needed.
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                                                                                             14          4.      During the more than four year period of Harland’s representation of me, he has

                                                                                             15 been my only trial counsel. Since my indictment in November 2020, he and I have met weekly on
                                                                                             16 average over the past two and a half years to review my defense in the event it might one day be
                                                                                             17 tried and to assess various developments in the co-defendants’ cases. We of course met more
                                                                                             18 frequently as my case got closer to the actual trial date.
                                                                                             19          5.      A few months ago in late 2022, Harland Braun suggested that a first-year attorney

                                                                                             20 at the law firm named Brendan Pratt attend my trial and provide some support during the trial and
                                                                                             21 in the period immediately preceding it. Although I believed it would be helpful for Mr. Pratt to
                                                                                             22 provide support to my trial counsel Harland Braun (particularly after my son Jeremy Chan was no
                                                                                             23 longer permitted to assist with my trial preparation tasks), at no point has anyone other than
                                                                                             24 Harland Braun served as my trial attorney. While Brendan Pratt is intelligent and hard-working,
                                                                                             25 he has never tried a case before. Given the seriousness of the charges against me, I would only
                                                                                             26 hire as my trial lawyer an attorney who has previously tried a number of jury trials and has the
                                                                                             27 requisite experience.
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                                                                                                                     DECLARATION OF DEFENDANT RAYMOND SHE WAH CHAN
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                                                                                              1          6.      On the evening of Thursday, March 2, 2023 which was the end of the second week

                                                                                              2 of my trial, I learned that Harland had fallen seriously ill that afternoon and was taken by
                                                                                              3 ambulance to the hospital. Over the course of the next ten days of his hospitalization, I learned
                                                                                              4 that Harland due to his various illnesses would be physically unable to participate in my defense
                                                                                              5 for at least several months.
                                                                                              6          7.      Attempting to proceed with the trial when Harland Braun is physically unable to

                                                                                              7 participate in my defense would be putting me on trial without my lone trial attorney, without the
                                                                                              8 counsel of my choice, and without effective assistance of counsel. Similarly, it would be unfair to
                                                                                              9 me to move forward on critical issues such as mid-trial motions related to which witnesses or
                                                                                             10 exhibits my trial attorney can use in my defense, when my only trial lawyer is unable to participate
                                                                                             11 and when I do not have effective assistance of counsel. To that end, these important trial issues
                                                                                             12 should be handled only by an experienced trial attorney who is available to represent me in
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                                                                                             13 connection with this trial.
BRAUN & BRAUN LLP




                                                                                             14          8.      As a result, I am filing a motion for a mistrial.

                                                                                             15          9.      In addition, as part of my motion for a mistrial, I request the Court give me a

                                                                                             16 reasonable period of time to investigate who is available with requisite experience to serve as my
                                                                                             17 trial counsel.
                                                                                             18          I hereby declare under the laws of the State of California and the United States of America

                                                                                             19 that the foregoing is true and accurate and that this declaration was executed on March 13, 2023 in
                                                                                             20 Los Angeles, California.
                                                                                                                                                        /s/ Raymond She Wah Chan
                                                                                             21                                                         _________________________
                                                                                             22                                                         RAYMOND SHE WAH CHAN

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                                                                                                                     DECLARATION OF DEFENDANT RAYMOND SHE WAH CHAN
